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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division


  SVETLANA LOKHOVA                              )
                                                )
         Plaintiff,                             )
                                                )
  v.                                            )          Civil Action No. 1:20-cv-1603
                                                )
                                                )          TRIAL BY JURY
  STEFAN A. HALPER                              )          IS DEMANDED
                                                )
         Defendant.                             )
                                                )



                                   COMPLAINT
         Plaintiff, Svetlana Lokhova, by counsel, files the following Complaint against

  defendant, Stefan A. Halper (“Halper”).

         Plaintiff seeks (a) compensatory damages and punitive damages in the sum of

  $5,000,000.00, (b) prejudgment interest on the principal sum awarded by the Jury from

  March 13, 2020 to the date of Judgment at the rate of six percent (6%) per year pursuant

  to § 8.01-382 of the Virginia Code (1950), as amended (the “Code”), and (c) court costs –

  arising out of the Defendants’ defamation and tortious interference with contract.

                                    I. INTRODUCTION

         1.      Plaintiff is a historian and author. On December 23, 2019, she entered

  into an Author Profit Participation Agreement (the “Book Contract”) with Post Hill Press,

  LLC (“PHP”) to write a work of non-fiction titled, “THE SPIDER: STEFAN A.

  HALPER AND THE DARK WEB OF A COUP” (the “Book”). Under the Book

  Contract, Plaintiff was entitled to receive 50% of all profits received from sales.



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         2.      Plaintiff completed the Book, and delivered it to PHP for editing and

  promotion. The Book contained no libelous material. Its publication would not have

  violated any right of any person or entity. PHP associate publisher Gary Terashita

  (“Terashita”) carefully edited the Book, and stood by every word. PHP represented to

  Plaintiff’s agent, Keith Korman (“Korman”), that it was “more than 100%” behind the

  Book. PHP created marketing materials and heavily promoted the Book on its website:




  [https://posthillpress.com/svetlana-lokhova-and-the-spider-featured-in-daily-caller-piece].

  PHP solicited preorders from customers and represented that the Book would be released

  on August 25, 2020. PHP engaged Simon & Schuster (“S&S”) to distribute Plaintiff’s

  Book. S&S carefully reviewed the Book, and also heavily promoted the Book without

  reservation in marketing materials published by S&S on S&S’s website:



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         3.     PHP actively publicized the sale of Plaintiff’s book by, inter alia,

  uploading metadata and creating a live link on Amazon.com and Barnesandnoble.com

  that included the marketing materials. PHP encouraged customers to “Pre-order now”:




                                            4
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                                     5
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  [https://www.barnesandnoble.com/w/the-spider-svetlana-lokhova/1136270351].

         4.      The statements in the marketing materials published by PHP and S&S

  were true.1   On their face, the statements also constituted pure opinions, rhetorical

  hyberbole, and fair reporting. [See, e.g., Halper is a “rogue spy”, an “evil spider”,

  Halper earned a “huge payday” from a DoD contract, Halper “targeted the important

  Trump advisor, Lt. General Michael T. Flynn”, Halper “schemed, lied, and ensnared

  members of the Trump team into his web”, Halper “fabricated and sustained the

  fantastical narrative of the Russia hoax”, and Halper “collaborated with the intelligence

  community to take the ‘kill shot on Flynn’”].2




         1
                  For instance, Halper did, in fact, manufacture and publish to third parties
  “dishonest accusations … that [Plaintiff] was General Flynn’s paramour and a Russian
  spy.” Two recently declassified documents corroborate that Halper was the source of the
  “dishonest accusations” about Plaintiff and General Flynn. First, on April 29, 2020, the
  Department of Justice (“DOJ”) released a “Closing Communication” published by the
  Federal Bureau of Investigation (“FBI”). The Closing Communication confirms that
  Halper told the FBI in 2016/2017 that after a February 28, 2014 dinner Lokhova
  “surprised everyone and got into CR’s [General Flynn’s] cab and joined CR on the train
  ride to ooooooo.” United States v. Flynn, Case 1:17-cr-00232-EGS (Document 189-1).
  Second, on May 7, 2020, the House Permanent Select Committee on Intelligence released
  a transcript of the December 2017 testimony of David J. Kramer (“Kramer”). Kramer
  testified that Christopher Steele (“Steele”) told him that “Mr. Flynn had an extramarital
  affair with a Russian woman in the U.K [who] … may have been a dual citizen.”
  [https://dailycaller.com/2020/05/08/christopher-steele-michael-flynn-lokhova/]. Halper
  was the source of Steele’s misinformation to Kramer.

         2
                  The source of the statement that Halper “collaborated with the intelligence
  community to take the ‘kill shot on Flynn’” is an October 2019 court filing by General
  Flynn’s legal team. General Flynn’s attorney, Sidney Powell (“Powell”), references a
  conversation between former Director of National Intelligence James Clapper and
  Washington Post reporter David Ignatius, claiming Clapper directed the reporter “words
  to the effect of ‘take the kill shot on Flynn’” after Ignatius obtained the transcript of
  Flynn’s phone calls with Russian Ambassador Sergey Kislyak. Powell claimed that the
  official who leaked the transcripts of the calls to Ignatius was a Pentagon official (Baker)
  who was Halper’s “handler.” [https://www.foxnews.com/politics/fbi-agents-manipulated-
  flynn-file-as-clapper-urged-kill-shot-court-filing].


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         5.      Thousands of copies of Plaintiff’s book were pre-ordered online. Given

  the overwhelming enthusiasm for the Book, the timing and sales of comparable works,

  Plaintiff reasonably expected to sell over 500,000 copies of the Book.

         6.      Beginning on March 13, 2020, however, Halper took unlawful action that

  intentionally interfered with and ultimately caused PHP to cancel Plaintiff’s Book

  Contract. Halper’s attorney, Terry Reed (“Reed”), contacted S&S and PHP and falsely

  accused S&S and PHP of defaming Halper in the marketing materials. Halper requested

  that S&S and PHP issue a public, written retraction of the defamation. Halper did not

  stop there. He also defamed and disparaged Plaintiff to S&S and PHP. Halper falsely

  accused Plaintiff of knowingly publishing “false statements”, “inciteful false statements”,

  statements that generated “hatred and threats” against Halper “and his family, including

  death threats and threats of personal injury”. Not a word was true. The sole purpose of

  Halper’s actions was to interfere with Plaintiff’s Book Contract and induce PHP to

  terminate the Contract. Halper knew this would cause substantial economic loss and

  emotional injury for Plaintiff.

         7.      In this case, Plaintiff seeks presumed damages, actual damages, special

  damages and punitive damages as a result of Halper’s statements and actions.

                                        II. PARTIES

         8.      Plaintiff is a citizen of the United Kingdom (UK).

         9.      Halper is a citizen of Virginia. He is domiciled in Heathsville, Virginia,

  within the Eastern District. At all times relevant to this action, Halper was represented by

  Reed. Reed maintains an office in Alexandria, Virginia. Acting at Halper’s direction and




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  with his knowledge and consent, Reed engaged in tortious acts from his office in

  Alexandria that caused PHP to cancel Plaintiff’s Book Contract.

                             III. JURIDICTION AND VENUE

            10.   The United States District Court for the Eastern District of Virginia has

  subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1332. The parties are

  citizens of different States and the amount in controversy exceeds the sum or value of

  $75,000, exclusive of interest, costs and fees.

            11.   Halper is subject to personal jurisdiction in Virginia pursuant to Virginia’s

  long-arm statute, § 8.01-328.1(A)(1), (A)(3) and (A)(4) of the Code, as well as the Due

  Process Clause of the United States Constitution.

            12.   Venue is proper in the Alexandria Division of the United States District

  Court for the Eastern District of Virginia pursuant to Title 28 U.S.C. § 1391(b)(1) and

  (b)(2).

                            IV. STATEMENT OF THE FACTS

            13.   Halper’s father-in-law was Ray Cline (“Cline”), a former deputy director

  of the Central Intelligence Agency (“CIA”) and director of intelligence and research at

  the State Department. It was Cline who “recommended his son-in-law, Stefan A. Halper,

  a former Nixon White House aide, be hired as Bush’s director of policy development and

  research.”      [https://www.washingtonpost.com/archive/politics/1980/03/01/coming-in-

  from-the-cold-going-out-to-the-bush-campaign/3758ff60-0d13-43a6-9a6f-

  c692e20d5378/]. Halper is a veteran political operative. He has participated in or been

  associated with political dirty tricks campaigns and scandal his entire life. [See, e.g.,

  Patricia Goldstone, Interlock. Art, Conspiracy, and the Shadow Worlds of Mark




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  Lombardi, p. 120 (Catapult 2015) (Halper is an “accomplished political operative” linked

  to several dirty trick campaigns); https://www.revolvy.com/page/Palmer-National-Bank-

  of-Washington%2C-D.C (Halper was a co-founder and chairman of Palmer National

  Bank (“PNB”) from 1983 to 1990. Halper had no banking experience. As part of the

  Iran-Contra scandal, Oliver North used the bank to funnel money to a Swiss bank account

  and ultimately to the Contras); https://www.nytimes.com/1983/07/07/us/reagan-aides-

  describe-operation-to-gather-inside-data-on-carter.html (“An operation to collect inside

  information on Carter Administration foreign policy was run in Ronald Reagan’s

  campaign headquarters in the 1980 Presidential campaign … The sources identified

  Stefan A. Halper, a campaign aide involved in providing 24-hour news updates and

  policy    ideas      to   the   traveling   Reagan   party,   as   the   person   in   charge”);

  https://www.nytimes.com/1984/04/07/us/questions-remain-about-activities-of-aides-to-

  the-1980-reagan-campaign.html?searchResultPosition=25              (“Nine   months     after   the

  disclosure that some of President Carter's briefing papers ended up in the hands of the

  Reagan campaign in 1980, it has become clear that Reagan aides took great pains to get

  information about the opposite camp.           But, despite several investigations, questions

  remain. One is whether any of the wide-ranging efforts by Reagan officials to obtain

  information were illegal.”)].

           14.      Halper’s 40+-year career as a clandestine political operative is well-known

  and well-documented. He is a public figure whose career as a spy is a matter of public

  record, see, e.g.:

         https://www.washingtonexaminer.com/news/stefan-halper-the-cambridge-
  professor-the-fbi-sent-to-spy-on-trump
         (“Stefan Halper: The Cambridge don the FBI sent to spy on Trump”);




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           https://nypost.com/2018/05/19/cambridge-professor-outed-as-fbi-informant-
   inside-trump-campaign/
           (“Cambridge professor outed as FBI informant inside Trump campaign”);

         https://www.realclearpolitics.com/articles/2019/07/18/the_labyrinthine_ways_and
   _wages_of_stefan_halper_140809.html
         (“The Labyrinthine Ways and Wages of Stefan Halper”);

          https://saraacarter.com/grassley-pressures-dod-for-more-information-on-fbi-spy-
   stephan-halper/
          (“Grassley Pressures DOD For More Information On FBI Spy Stefan
          Halper”);

          https://thefederalist.com/2019/11/04/scoop-cia-fbi-informant-was-washington-
   post-source-for-russiagate-smears/
          (“SCOOP: CIA, FBI Informant Was Washington Post Source For Russiagate
          Smears”);

          https://saraacarter.com/durham-probe-expands-to-pentagon-office-that-
   contracted-fbi-spy-stephan-halper/
          (“Durham Probe Expands to Pentagon Office That Contracted FBI Spy
          Stephan Halper”);

          https://www.grassley.senate.gov/news/news-releases/halper-docs-raise-new-
   questions-about-office-net-assessment-s-purpose-compliance
          (“Halper Docs Raise New Questions about Office of Net Assessment’s
          Purpose & Compliance”);

          https://www.foxnews.com/politics/defense-department-informant-may-have-
   received-taxpayer-funds-to-spy-on-trump-campaign-grassley-suggests
          (“US informant may have received taxpayer funds to spy on Trump
          campaign, Grassley says”);

         https://www.telegraph.co.uk/news/2020/03/05/spies-lies-secret-recordings-
   cambridge-professor-snooped-trump/
         (“Spies, lies and secret recordings – how a Cambridge professor snooped on
         Trump campaign advisers”);

           https://thefederalist.com/2020/03/13/did-spygate-source-stefan-halper-work-for-
   the-hillary-clinton-campaign/
           (“Did Spygate Source Stefan Halper Work For The Hillary Clinton
           Campaign?”).

          15.    Plaintiff was born in Moscow on June 4, 1980.         She matriculated to

   Cambridge University in 1998, where she studied history. She holds a Master’s in



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   Philosophy (MPhil) and a B.A (Honors) in History.          Her groundbreaking Master’s

   dissertation remains the definitive account of the founder of the Soviet intelligence

   service, Felix Dzerzhinsky. [https://www.svetlanalokhova.com/biography]. She became

   a citizen of the UK in 2002.

          16.     In 2019, Plaintiff decided to write a book about Halper, and his role in the

   failed coup against President of the United States, Donald Trump. Plaintiff is a respected

   author and historian. She has written several books. Her research on Halper runs deep.

   Her sources are impeccable and thoroughly reliable. Plaintiff’s Book demonstrates that

   between 2016 and 2017 Halper engaged in a clandestine effort to advance the false

   narrative of collusion between members of the Trump campaign (including General

   Flynn) and Russians.     Specifically, Halper misrepresented to the FBI3 and others,

   including Steele, that Plaintiff was a Russian spy who had an affair with General Flynn

   when he was Director of the Defense Intelligence Agency.                An FBI Closing




          3
                    At least one member of the FBI who worked on the FBI’s investigation of
   General Flynn (dubbed “Crossfire Razor”) believed that Halper’s statements were “not
   accurate”. William J. Barnett (“Barnett”) was interviewed on September 21, 2020, and
   testified as follows:




   United States v. Flynn, Case 1:17-cr-00232-EGS (Document 249-1).


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   Memorandum declassified in April 2020 reveals some of the lies told by Halper about

   Plaintiff and General Flynn:




   In undertaking his dirty tricks operation, Halper conspired with political operatives at

   Cambridge University, including Richard Dearlove and Christopher Andrew, and agents

   employed by the Wall Street Journal, the Guardian, the New York Times and the

   Washington Post, to leak false statements about Plaintiff as part of a nefarious effort to

   smear General Flynn and fuel Russia collusion hoax.

          17.     Plaintiff’s book contains no libelous statements. It was fully vetted and

   accepted by PHP before PHP decided to publicize it on Amazon.com and

   Barnesandnoble.com.




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           18.    In March 2020, after learning that Plaintiff intended to publish a book

   revealing his dirty tricks and unlawful actions, Halper chose to take action intended to

   quash publication and cancel the Book Contract. Although many other journalists had

   reported the fact that Halper was a “spy”, there was only one historian committed to

   revealing the entire truth about Halper’s efforts to overthrow the duly-elected President of

   the United States. Was Halper paid to spy on the Trump campaign? The serious

   questions raised by Senator Grassley and others about the huge payout of $1,058,161.00

   USD received by Halper from the Department of Defense (DoD), paid out of the

   Pentagon’s Office of Net Assessment (ONA”) – matters fairly reported on by Plaintiff in

   her Book – provide a motive for Halper and Reed to censor, threaten and intimidate

   Plaintiff.

           19.    At the time he misrepresented to S&S and PHP that they had defamed him

   in the marketing materials, Halper had no intention of engaging in any litigation. There

   was no possibility that Halper would institute any proceeding. Halper and Reed knew

   that truth was an absolute defense to Halper’s claims,4 and that by filing a defamation

   claim, Halper would expose himself (and his confederates) to full discovery of the

   wrongdoing in 2016 and 2017. Rather, Halper’s sole goal was to intimidate and coerce

   PHP to terminate the Book Contract.5 Halper escalated the threats and intimidation to

   S&S’s parent company, CBS Corporation (“CBS”).




           4
                   See, e.g., Ebersole v. Kline-Perry, 292 F.R.D. 316, 321 (E.D. Va. 2013)
   (truth is an absolute defense to a claim of defamation).

           5
                Significantly, Halper and Reed made no demand on Amazon.com or
   Barnesandnoble.com or on Plaintiff for that matter.


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          20.    PHP is a small, independent publishing company. It has successfully

   published a wide spectrum of books, with a focus on the categories of pop culture,

   business, self-help, health, current events, Christian, and conservative political books.

   PHP’s books have appeared on The New York Times, USA Today, The Wall Street

   Journal, and Publishers Weekly bestseller lists. A number of its authors have appeared

   on national media such as Fox News. [https://posthillpress.com/about]. A significant

   number of PHP’s books are distributed by S&S.

          21.    After Halper contacted S&S and CBS, S&S advised PHP that unless PHP

   canceled Plaintiff’s Book Contract, S&S would refuse to distribute any of PHP’s books.

          22.    PHP canceled the Book Contract.

          23.    After PHP canceled the Book Contract, Plaintiff self-published the Book.

   [https://www.spygate-exposed.com/]. She renamed the Book, “SPYGATE EXPOSED:

   THE CONSPIRACY TO TOPPLE PRESIDENT TRUMP”, but the substance of the

   Book remains the same. Plaintiff marketed the Book on her website, on Amazon and on

   Twitter [https://twitter.com/RealSLokhova], using the same statements previously

   employed by S&S and PHP in the marketing materials, including:

          “A Cambridge historian’s eyewitness account of America’s first presidential
          coup. An innocent woman, Svetlana Lokhova was pulled into this fabricated
          narrative through dishonest accusations—for instance, that she was General
          Flynn’s paramour and a Russian spy.”

   [https://www.amazon.com/dp/B08NXFRL1K/ref=cm_sw_em_r_mt_dp_mJW6FbW4X9

   VNB (“A Cambridge University historian’s explosive eyewitness account exposes the

   origins of America’s first presidential coup. A devious spy worked within and around the

   Trump presidential campaign, fabricating the fantastical narrative of the Russia hoax.

   For his efforts, the spy earned a huge payday from the Obama administration, paid by the


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   Defense Department and the FBI. The spy targeted the most important Trump campaign

   advisor, Lt. General Michael T. Flynn. During the 2016 presidential campaign, the spy

   schemed, lied, and ensnared members of the Trump team into a web of deceit, including

   the future president himself.     In 2017, the spy collaborated with the intelligence

   establishment to take the ‘kill shot on Gen. Flynn,’ leaking classified information to his

   associates in the press. An innocent Cambridge historian, Svetlana Lokhova was pulled

   into this fabricated narrative through dishonest accusations—including that she was

   General Flynn’s paramour and a Russian spy. This is the true story. As first heard on the

   Dennis Prager Show! Recommended by Rep. Devin Nunes, Maria Bartiromo, John

   Solomon, Sara A Carter, Dan Bongino.”)].

          24.     Halper never even contacted Plaintiff, which further demonstrates that

   Halper never believed the marketing materials were defamatory, never intended to take

   legal action against S&S, PHP or Plaintiff, and only intended to interfere with Plaintiff’s

   Book Contract.

          25.     Halper never prepared a proposed complaint and never instituted any kind

   of judicial proceeding.

                                 COUNT I – DEFAMATION

          26.     Plaintiff restates paragraphs 1 through 25 of this Complaint, and

   incorporates them herein by reference.

          27.     Halper and Reed made, published and republished numerous false factual

   statements of and concerning Plaintiff. These statements are detailed verbatim above.

   Halper and Reed published the false statements without privilege of any kind.




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          28.     The false statements constitute defamation per se.           Halper’s false

   statements exposed Plaintiff to public scorn, ridicule and contempt. He imputed to

   Plaintiff misinformation, deception, lack of integrity, and ethical improprieties that

   severely prejudiced Plaintiff in her profession and employment as an author and

   historian. Halper’s false statements impugned and disparaged Plaintiff’s reputation as a

   trustworthy, intelligent, and competent author and historian.

          29.     Halper and Reed’s false statements have harmed Lokhova and her

   reputation.

          30.     The Defendants made the false statements with actual or constructive

   knowledge that they were false or with reckless disregard for whether they were false.

   The Defendants acted with actual malice and reckless disregard for the truth for the

   following reasons:

                  a.      Halper and Reed acted with one unlawful purpose: to induce PHP

   to terminate the Book Contract. Halper and Reed knew their statements about the

   marketing materials on the S&S and PHP websites were false and that the sole purpose of

   the statements to S&S and PHP was to cause cancelation of the valuable Book Contract

   because, given the opportunity, Halper and Reed failed to object to the same marketing

   materials used by Plaintiff on her website and on Amazon. The false statements to S&S

   and PHP were pretextual dirty tricks. The real purpose of the threats was to cause the

   cancelation of the Book Contract. Halper and Reed no intention of ever pursuing any

   litigation against S&S, PHP or Plaintiff as a result of the “defamation”.

                  b.      Halper and Reed knew the statements in the marketing materials

   were not false or defamatory.      Reed, an experienced defamation lawyer, knew the




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   statements were pure opinions, rhetorical hyperbole and/or fair reports, yet he demanded

   that S&S and PHP censor Plaintiff. Further, Halper was not at the dinner in February

   2014; yet he represented to the FBI in 2016/2017 that he “witnessed” Plaintiff get in a

   cab and leave with General Flynn.            Halper and Reed were/are in possession of

   information that demonstrates that their statements about Plaintiff were false, including

   evidence that Halper manufactured the claim that Plaintiff and General Flynn had an

   affair. See, e.g., Watson v. NY Doe 1, 439 F.Supp.3d 152, 164 (S.D.N.Y. 2020) (“this is a

   case where the alleged false statements were allegedly based on the direct knowledge of

   the alleged defamer that the plaintiff alleges is false. A fair inference from the Complaint

   is that NY Doe 2 knew that the plaintiff did not rape her but falsely made that accusation.

   Those circumstances are sufficient to infer actual or constitutional malice on the part of

   NY Doe 2 because she is alleged to have firsthand knowledge of whether the plaintiff did

   or did not rape her.”).

                  c.         Halper had a motive to fabricate the false claims about Plaintiff.

   Halper acted in bad faith. He could not have had an honest belief in the truth of his

   statements about Plaintiff.

                  d.         Halper and Reed reiterated, repeated and continued to republish the

   false and defamatory statements about Plaintiff out of a desire to hurt her and to

   permanently stigmatize her.

                  e.         Halper initiated the defamation in retaliation and reprisal for prior

   litigation instituted by Plaintiff, and went out of his way to publish and then republish

   false statements about Plaintiff that Halper knew were untrue.




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                  f.       Plaintiff demanded a retraction of the defamatory statements in

   April 2020 prior to PHP’s termination of the Book Contract. Halper refused to correct,

   retract or apologize.

          31.     As a direct result of Halper’s defamation, Plaintiff suffered presumed

   damages and actual damages, including, but not limited to, insult, pain, embarrassment,

   humiliation, mental suffering, injury to her reputation, loss of income and business from

   the sale of her Book, costs, and other out-of-pocket expenses, in the sum of $5,000,000 or

   such greater amount as is determined by the Jury.

             COUNT II – TORTIOUS INTERFERENCE WITH CONTRACT

          32.     Plaintiff restates paragraphs 1 through 31 of this Complaint and

   incorporates them herein by reference.

          33.     Plaintiff had valid and enforceable Book Contract and, given the state of

   the pre-orders, a reasonable expectation of substantial sales.

          34.     Halper searched the Internet and gained knowledge of Plaintiff’s contract

   with PHP and her business expectancies.

          35.     Halper intentionally interfered with Plaintiff’s property rights and business

   expectations by, inter alia, intentionally lying to S&S and PHS and actively participating

   in the scheme or artifice to cause PHP to cancel the Book Contract. Halper’s improper

   methods of interference were, inter alia, independently actionable, defamatory, unethical,

   oppressive, over-reaching, fraudulent, hostile, and sharp.

          36.     As a direct result of Halper’s tortious interference, Plaintiff suffered

   damage and incurred loss, including, without limitation, loss of profits under the Book




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   Contract, damage to her reputation, prestige and standing, court costs, and other damages

   in the amount of $5,000,000 or such greater amount as is determined by the Jury.



          Plaintiff alleges the foregoing based upon personal knowledge, public statements

   of others, and records in her possession.         She believes that substantial additional

   evidentiary support, which is in the exclusive possession of Halper, the FBI, Dearlove,

   Andrew, and their agents and other third-parties, will exist for the allegations and claims

   set forth above after a reasonable opportunity for discovery.

          Plaintiff reserves her right to amend this Complaint upon discovery of additional

   instances of Halper’s wrongdoing.



                      CONCLUSION AND REQUEST FOR RELIEF

          WHEREFORE, Plaintiff, Svetlana Lokhova, respectfully requests the Court to

   enter Judgment against Halper as follows:

          A.      Compensatory damages in the amount of $5,000,000.00 or such greater

   amount as is determined by the Jury;

          B.      Punitive damages in the amount of $350,000.00 or the maximum amount

   allowed by law;

          C.      Prejudgment interest from March 13, 2020 until the date Judgment is

   entered at the maximum rate allowed by law;

          D.      Postjudgment interest at the rate of six percent (6%) per annum until paid;

          E.      Such other relief as is just and proper.




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                        TRIAL BY JURY IS DEMANDED



   DATED:      December 31, 2020



                           SVETLANA LOKHOVA



                           By:     /s/ Steven S. Biss
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